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                                            Respectfully submitted,

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                                      Certificate of Service

       I hereby certify that I filed the foregoing through the Court’s CM/ECF system. I further

 certify that a copy of the foregoing was emailed to counsel for the United States.


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